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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF LOUISIANA

MARION M. PEARSON
Debtor

Case No. 14-11114
Chapter 13

In re:

CHAPTER 13 PLAN
X Original plan

The debtor’s future earnings are submitted to the supervision and control of the trustee, and the
debtor shall pay to the trustee all disposable income in the amount of $l300.00 per month for months l -
34, then $1025.00 per month for months 35-60.

From the debtor's payments to the trustee, trustee shall distribute funds as provided in this plan:
(l) Trustee Claims

The trustee shall be $130.00 per month for months 1 -34, then 3102.50 per month for months 35-
60 as an administrative expense entitled to priority under ll U.S.C. § 507(a)(l) (ten percent (10%) of
payments under the plan).

(2) Priority Claims

A. ATTORNEY FEES

 

 

 

 

 

 

 

 

 

Attorney’s Total Fees Fees Paid Fees to be Term Monthly
Name By the Paid in the (months) Installments
Debtor Plan
Elizabeth L. $3,000.00 $300.00 $2,700.00 1-3 $900.00
Hall
B. PRIORITY TAX CLAIMS

 

The following claims entitled to priority under ll U.S.C. § 507 shall be paid in full* in
deferred cash payments unless the holder of a particular claim has agreed to a different
treatment of such claim, as indicated below:

 

Name of Creditor Value of Annual* Term Monthly
Claim Interest Rate (months) lnstallment
(if applicable)

 

 

NONE

 

 

 

 

 

 

C. DOMESTIC SUPPORT OBLIGATIONS (ADSO@)

l. Ongoing DSO claims.

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a. X None. lf none, skip to subparagraph (3) “Secured Claims” below.

b. The name(s), address(es) and phone number(s), including area
code, of the holder of any DSO as defined in 11 U.S.C. §
101(14A). Names of minor children must not be disclosed.
ldentify only as “Minor child #1," "Minor child #2," etc. See 11

 

 

 

 

 

 

 

 

U.S.C. §112.
Name of DSO claim holder Address, city & state Zip code Telephone number
NONE
c. Debtor(s) shall pay all post-petition DSO claims directly to the

holder(s) of the claim(s), and not through the chapter 13 trustee.

2. Pre-Petition Child Support Arrearages

a. X None. If none, skip to subparagraph (3) “Secured Claims” below

b. The name, address and phone number (with area code) of the
holder of every DSO arrearage claim, amount of arrearage claim
and monthly payment. Names of minor children must not be
disclosed. ldentify only as “Minor child #1," "Minor child #2," etc.

See 11 U.S.C. § 112.

 

 

 

 

 

 

 

Name, address, phone number of DSO claim Arrearage Term Monthly
holder Claim Installments
NONE
c. The trustee shall pay DSO arrearages from the
debtor’s plan payments
3, DSO assigned or owed to a governmental unit under ll U.S.C. §507(a)(1)(B):
a.L None. If none, skip to subparagraph (3) “Secured Claims”
below.
b. The debtor shall make all post-petition payments on DSO claims

assigned to a governmental unit directly to the assignee of the
claim, and not through the trustee.

c. The name, address and phone number (with area code) of the
holder of every assigned DSO arrearage claim, amount of
arrearage claim and monthly payment amount or other special
provisions The debtor must also describe in detail any special
provisions for payments of these claims in section 11 of this plan.

 

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Name, address, phone number of DSO claim Arrearage Monthly Payment
holder Claim Amount
NONE S
(3) Secured Claims
A. Principal Residence.
(i) Current Payments. Except as otherwise provided in this plan or by court

order, and pursuant to 11 U.S.C. § 1322(b)(2), after the date of the petition
and throughout this chapter 13 case, the debtor shall timely make all usual
and regular payments required by the debt instruments secured by non-
voidable liens on real property (i.e., immovable property) that is the
debtor's principal residence, directly to each of the following lien

 

 

 

creditors:
Lien Holder Security Description of Property/ Monthly
lnterest Collateral Installment
chen Loan Home mtg 10721 Greencrest Dr. $750.00
Servicing Baton Rouge, LA 70811

 

 

 

 

 

* Monthly Installment subject to fluctuations in escrow and interest rate changes

(lf the plan proposes to pay the claim in a manner different from that required by the debt instruments
and security agreements, the proposed treatment must be described in detail and if not resolved by
consent of all parties, shall be determined at the confirmation hearing.)

(ii) Cure of Arrearages. From funds available for distribution, the trustee shall
pay arrearages to lien holders identified in plan section 3(A) in monthly
installments as set forth in this plan until the allowed arrearage claim of
each lien holder has been satisfied

 

 

 

 

 

 

 

 

 

Lien Holder Total Amount Annual Interest Terms Monthly Installment
of Arrearages* Rate** (monthly)
chen Loan $9,800.00 0% 4-60 $171.93
*[If applicable: "Total includes attorney's fees, costs, late charges of $ and interest rate of %"

or "Total includes pre-petition principal and interest or principal only."]

**[If applicable: "Confirmation of this plan shall constitute the cure of any default to a lien holder on the
principal residence under any security agreement notwithstanding that the time for reinstatement has
expired under the terms of the security agreement."]

B.

Surrender of Property. Upon confirmation of this plan, the debtor shall surrender
to the following holders of secured claims, in full satisfaction of their secured
claims, all of the debtor's rights under the Bankruptcy Code, applicable non-
bankruptcy law or this plan to maintain an interest in the property securing their

claims:

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Lien Holder

Amount of Secured Claim

Description of Collateral

 

 

NONE

 

 

 

 

The debtor's right under the Bankruptcy Code, applicable non-bankruptcy law or
this plan to assert an interest in the collateral is deemed surrendered upon the
entry of the order confirming this plan. Confirmation of this plan will operate to
lift the ' 362 stay, with consent of the debtor, also to allow enforcement of the
security interests held by the above claimants, under applicable non-bankruptcy
law.

Pre-Confirmation Adequate Protection. Pursuant to the order of the Court, all
adequate protection payments to secured creditors required by §1326(a)(1) may
be made through the Chapter 13 trustee, unless otherwise ordered, in the amount
provided in the plan for that creditor. Such payments, if made by the trustee, shall
be subject to the trustee’s percentage fee as set by the designee of the United
States Attorney General and shall be made in the ordinary course of the trustee’s
business, from funds on hand as funds are available for distribution to creditors
who have a filed claim,

 

 

Creditor name, address, last four Security Amount of Term Monthly
digits of account number Claim (Months) Installment
Breco Federal Credit Union 2013 Cadillac SRX
1850 S. Sherwood Blvd. $38,000.00 1-3 $270.00
Baton Rouge, LA 70816
Account ending: 4696

 

 

 

 

 

 

 

 

 

D. Secured Claims Not Determined under 11 U.S.C. §506
This subsection provides for treatment of allowed claims secured by a
purchase money security interest in a vehicle acquired for the debtor's
personal use, incurred within 910 days before the date of the petition, or
incurred within one year before the date of the petition, if the collateral for
the claim is any other thing of value. See 11 U.S.C. §1325(a)(9).
After confirmation, the trustee will make installment payments to the
holder of each listed allowed secured claim after subtracting the pre-
confirmation adequate protection payments from the amount of the claim.
Name of Description Claim Interest Rate Term Monthly
Creditor of Property Amount (monthly) Installment
Breco FCU 2013 $38,000.00 5.25% 4-60 $748.48
Cadillac
SRX

 

 

 

 

 

 

 

E. Secured Claims Determined under 11 U.S.C. §506

Any secured claims not treated in plan sections 3(A), (B), (C), (D), (E) or
(G) shall be determined under 11 U.S.C. ' 506, Federal Rule of

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Bankruptcy Procedure 3007 and 3012 and Local Rule 3012-1. The trustee
shall make payments to the claim holder not less than the allowed amount
of the secured claim as of the effective date of the plan. Each holder of a
secured claim shall retain the lien securing the claim until the claim is paid
in full. The holders of the secured claims, the debtor's proposed value and
treatment of the claims are set forth below:

 

Name of
Creditor

Description of
Property

Term
(monthly)

Claim Interest Rate

Amount

Monthly
Installment

 

 

 

NONE

 

 

 

 

 

 

Creditors contesting the proposed value of a secured claim must file an
objection by the time prescribed by applicable local rules. The Court will
take evidence determine the value of the secured claim at the hearing on
confirmation, pursuant to Federal Rule of Bankruptcy Procedure 3012.

[lf applicable - The debtor has filed [or will file] a complaint to initiate an
adversary proceeding in order to cancel an allegedly avoidable lien
securing the claim of .]

Other Direct Payments to Creditors Holding Secured Claims

After the date of the petition and throughout this chapter 13 case, the
debtor shall timely make all usual and regular payments required by the
debt instruments secured by non-voidable liens directly to each of the
following lien creditors:

 

Creditor

Security Interest Description of

Property/Collateral

Monthly Installment

 

 

None

 

 

 

 

 

Reason for Direct Payment:

(4) Unsecured Claims

A. Class A comprises creditors holding allowed unsecured claims, except those allowed
unsecured claims treated in plan section 4(B).

The claims of those creditors shall be paid pro rata over the period of the plan as follows:

 

 

 

Aggregate Amount Interest Rate** Term (monthly) Monthly Installment
Of Unsecured
Claim (as scheduled)*
$7,600.00 3.00% 1-3 $0.00
4-34 $249.59
35 $239.52

 

 

 

 

 

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*Informational purposes only; to be included in Class A the claims must be allowed.
**[If applicable; e.g., in cases requiring 100% repayment due to liquidation value of the estate].

(A) [If applicable] Class B comprises creditors holding allowed unsecured claims
for which a co-debtor is liable. To maintain the stay of actions against the co-
debtor pursuant to 11 U.S.C. ' 1301 , the trustee shall pay these creditors one
hundred percent (100%) of their allowed claims plus interest on the following

 

terms:
Creditor Claim and Interest Rate** Term Monthly Installment
Monthly (monthly)* * * (Under Plan)
lnstallment*
NONE

 

 

 

 

 

 

 

 

*The balance and installment under the applicable debt instrument.
**As provided in the debt instrument
***Remaining term provided in the debt instrument

(5) Liquidation Value
The liquidation value of the estate is $685.00.
(6) Present Value of Payments to Class A Unsecured Creditors

The present value of the payments to be made to unsecured creditors under the plan using
a 3.00% annual discount rate is: $7,600.02

(7) Executory Contracts and Unexpired Leases
The debtor hereby accepts the following leases or executory contracts: NONE

The debtor shall make all post-petition payments on assumed executory contracts and
unexpired leases directly to the creditor beginning with the first payment due after the
petition date.

(8) Attorney's Fees for Debtor's Counsel

The debtor's attorney has been paid or promised $3,000.00 in fees plus $310.00 to
reimburse court costs by the debtor for professional services and expenses incurred in this
Chapter 13 case. Approval of attorney fees and expenses will be subject to the debtor’s
attorney filing the Attorney Disclosure Statement in the case and will be sought in
conjunction with confirmation of the plan. The debtor will seek approval of counsel's
fees and expenses in conjunction with confirmation of this plan. Confirmation of the
plan shall constitute approval of the fees and expenses, unless the Court disallows or
reduces them.

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(9) Vesting of Property

Upon confirmation of this plan, all property of the debtor's estate shall vest in the
debtor.

(10) Other Matters

None.

CERTIFICATION OF COUNSEL
I HEREBY CERTIFY that l have explained the terms and conditions of, and obligations under,
the foregoing Chapter 13 plan to the debtor. l also certify that this plan does not differ from the plan
prescribed by Local Rule 3015-l(b) and Standing Order 2010-1, except as noted in the “Other Matters”
Section of the plan, Paragraph 10.

Baton Rouge, Louisiana, this the 29th day of August, 2014.

/s/ Elizabeth L. Hall
Counsel for Debtor

/s/ Marion M. Pearson
Debtor

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